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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

DIRECTV, INC.,                                            *
                                                          *
v.                                                        *
                                                          *         Civil Action No.: AW 03-1631
MARK LANKESTER, et al.,                                   *
                                                          *

                                           MEMORANDUM OPINION

         Presently pending are Plaintiff DIRECTV’s Motions to Enforce Settlement. These

motions require the Court to examine whether the discussions between counsel and the exchange

of e-mails and letters regarding payment and proposed releases and indemnity agreements

created an enforceable agreement. No hearings are requested, and none are deemed necessary.

For the reasons set forth below, DIRECTV’s motions to enforce the settlement agreements will

be denied.

                                                   I.    Background.

         DIRECTV filed a complaint alleging that Defendants purchased one or more pirate-

access devices to intercept and decrypt DIRECTV’s protected satellite communications without

authorization or payment, in violation of 47 U.S.C. § 605 and 18 U.S.C. § 2511. Defendants

were served and filed Answers through counsel. Settlement negotiations then ensued between

Defendants’ counsel, Mr. Burman Berger,1 and DIRECTV.

         Because no written settlement agreements were executed, DIRECTV relies on

correspondence, particularly e-mails, to prove the existence of settlement agreements.

DIRECTV contends that negotiations regarding both the amount of the settlements and the text


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           Mr. Berger represented all of the Defendants named in these Motions and previously negotiated settlements with
DIRECTV for a number of other Defendants in other such proceedings. See Plaintiff’s Motion to Enforce Settlement (“Pl.’s
Mot.”). However, on November 1, 2005, the Court ordered his withdrawal due to the loss of his licence to practice law. (Dkt.
No. 1020).
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of the release and indemnity agreements were completed, and that DIRECTV then ceased its trial

preparation and informed the Court that the matters were resolved and would be dismissed. As it

has been unable to obtain executed versions of the agreements from Defendants, DIRECTV asks

this Court to enforce the settlements. Defendants did not respond to DIRECTV’s motions.

           II.   Legal Standard for the Enforcement of Settlement Agreements.

       District courts possess the inherent authority to enforce settlement agreements and to

enter judgments based on such agreements. Wood v. Virginia Hauling Co., 528 F.2d 423, 425

(4th Cir. 1975); see also Hensley v. Alcon Laboratories, Inc., 277 F.3d 535, 540 (4th Cir. 2002)

(noting that binding settlement agreements are an important aspect of the judicial process,

providing an orderly and peaceful resolution of controversies). The party who seeks

enforcement of a settlement bears the burden of showing that a binding agreement to resolve all

the disputed issues in the underlying litigation was reached. When, as here, a party relies on

communications between counsel and there has been no judicial supervision of the settlement

process, the existence of a final agreement must be proven by clear and convincing evidence that

the parties entered into a settlement agreement resolving all issues. Anschutz v. Radiology

Associates of Mansfield, Inc., 827 F. Supp. 1338, 1343 (N.D. Ohio 1993) (stating that although

settlements “are of vital importance to the expedient and just administration of justice” where an

alleged settlement has been reached outside of judicial supervision, “judicial resources should

not be devoted to determining whether a contract of settlement has been achieved by applying

the preponderance of the evidence standard”); see also Quijano v. Eagle Maintenance Servs.,

Inc., 952 F. Supp. 1, 3 (D.D.C. 1997) (the party moving for enforcement of a settlement

agreement bears the burden of showing, by clear and convincing evidence, that the parties

formed a binding agreement to resolve all the disputed issues in the underlying litigation)

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(citation omitted); Nutrivida, Inc. v. Inmuno Vital, Inc., 1997 WL 1106569, at *3 (S.D. Fla. Feb

28, 1997) (finding that Nutrivida had not proven by convincing evidence that there was a

meeting of the minds as to a settlement agreement (citing Rondolino v. Northwestern Mut. Life

Ins. Co., 827 F. Supp. 729, 730 (M.D. Fla. 1993))). Thus, in order to prevail, DIRECTV must

prove the existence of settlement agreements by clear and convincing evidence.

                                                    III. Discussion.

         DIRECTV fails to show that Mr. Berger had authority to bind Defendants to final

settlement agreements. Rather, DIRECTV summarily concludes that “as [Defendants’] agent, he

was authorized to agree to a settlement.” This is not the law.

         The retention of an attorney by a client confers upon the attorney implied authority to

conduct litigation and negotiate its resolution. Auvil v. Grafton Homes, Inc., 92 F.3d 226, 230

(4th Cir. 1996). But the “[s]ubstantive decisions of whether to bring suit, to dismiss suit, or to

settle are not by implication ones that the attorney is authorized to make.” Id., quoting Schafer v.

Barrier Island Station, Inc., 946 F.2d 1075, 1079 (4th Cir. 1991); see also Wood, 528 F.2d at

425 (no agreement without express authority). An attorney cannot bind his client to a settlement

agreement unless he has the client’s express authority to do so. Wood, 528 F.2d at 425.

         The law of Maryland and Virginia is similar.2 See Posko v. Climatic Control Corp., 84

A.2d 906, 909 (Md. 1951) (attorney has no implied authority to compromise his client’s claim);

Accrocco v. Splawn, 287 A.2d 275, 279 (Md. 1972) (same); Singer Sewing Machine Co. v.

Ferrell, 132 S.E. 312, 314 (Va. 1926) (an attorney at law, merely by virtue of his employment,

has no authority to comprise and settle a client’s claim without express authority); Snyder-


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           DIRECTV contends that most of its motions are governed by Virginia law, but agrees that the result is the same
under Virginia or Maryland law.

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Falkinham v. Stockburger, 457 S.E.2d 36, 39 (Va. 1995) (same). Thus, “an attorney has

authority to bind his client by his actions relating to the conduct of litigation,” but this authority

does not extend to agreeing to a binding settlement. Kinkaid v. Cessna, 430 A.2d 88, 90 (Md.

Ct. Spec. App. 1981); Snyder-Falkinham, 457 S.E.2d at 39. Counsel must have express

authority to settle his clients’ claims. Accrocco, 287 A.2d at 279. The party seeking to enforce a

settlement order must prove: (1) that the other party’s counsel acted with the authority of his

client; and (2) that such authority expressly extended to the settlement of the claim. Kinkaid,

430 A.2d at 91 (applying agency principles in stating that parties who did not present evidence

as to the authority of opposing counsel to settle lawsuit did not sustain burden of proof for

required express authority).

       The only evidence regarding Mr. Berger’s authority is that in one instance, Mr. Berger

states that he has spoken with his client, see Pl.’s Mot. (Dkt. 750), and in several others, he states

that the client “will settle” or that Mr. Berger “has authority to . . . .” These statements by Mr.

Berger do not establish that his clients gave him authority to bind them to final agreements. See

Auvil, 92 F.3d at 230. Rather, an express manifestation by Defendants was necessary to

establish that they had given Mr. Berger final settlement authority. DIRECTV cites no action by

any Defendant, and thus no basis upon which to conclude, that Defendants had authorized Mr.

Berger to bind them. RESTATEMENT (SECOND), supra, § 7-8; see also Integrated Consulting

Services, Inc. v. LDDS Communications, Inc., 176 F.3d 475, 1999 WL 218740, at *5 (4th

Cir.1996) (table decision) (“From the well-established tenet that an agent cannot create his own

authority to represent a principal, it follows that an agent’s statements that he has such authority

cannot, without more, entitle a third party to rely on his agency.” (quotation omitted)).



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        Agency principles recognize an agent’s authority to bind a client based on the doctrine of

apparent authority. See RESTATEMENT (SECOND) of AGENCY § 8, 285 (1957). The Restatement

(Second) of Agency defines apparent authority as “the power to affect the legal relations of

another person by transactions with third persons, professedly as an agent for the other, arising

from and in accordance with the other’s manifestations to such third persons.” Id.; see also

Auvil, 92 F.3d at 230 (“An agent’s authority must be conferred by some manifestation by the

principal that the agent is authorized to act on the principal’s behalf.”). Unlike actual authority,

apparent authority does not depend upon any manifestation from the principal to the agent, but

rather from the principal to the third party. RESTATEMENT (SECOND), supra, § 27, cmt. a. “The

action or manifestation of authority giving rise to the reliance must be that of the principal, and

the reliance by the third person on the action or manifestation of authority must be reasonable.”

Miller v. Mueller, 343 A.2d 922, 926 (Md. Ct. Spec. App. 1975) (emphasis added). The third

party’s perception may be based upon “written or spoken words or any other conduct of the

principal which, reasonably interpreted, causes the third person to believe that the principal

consents to have the act done on [her] behalf by the person purporting to act for [her].”

RESTATEMENT (SECOND), supra, § 27. No conduct by any Defendant is even alleged here.

        In sum, DIRECTV has failed to carry its burden of showing that Mr. Berger’s actions

were binding on Defendants. Accordingly, the motion to enforce settlements is denied.



Date:    November 7, 2005                                             /s/
                                                          ALEXANDER WILLIAMS, JR.
                                                           United States District Judge




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